                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION

                                    DOCKET NO. 1:08CR128

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
               v.                                )                    FINAL
                                                 )             ORDER OF FORFEITURE
(5) BRIAN EDDIE CASH                             )
                                                 )
                                                 )
                                                 )

       THIS MATTER is before the Court on the Government’s motion for a final order of

forfeiture, filed August 3, 2009.

       On February 23, 2009, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(b), based upon Defendant’s guilty plea to Count One

of the Bill of Indictment. In Count One, the Defendant is charged with knowingly and

intentionally combining, conspiring, confederating and agreeing with others to possess with

intent to distribute a quantity of cocaine base, commonly known as crack cocaine, a Schedule II

controlled substance, in violation of 21 U.S.C. §§ 846 and 841(a)(1).

       On April 15, 2009, through May 14, 2009, the United States posted on an official

Government internet site (www.forfeiture.gov), for at least 30 consecutive days, notice of this

forfeiture and of the intent of the United States to dispose of the forfeited property in accordance

with law, and further notifying all third parties of their right to petition the Court within 30 days

for a hearing to adjudicate the validity of any alleged legal interest in the property. It appears

from the record that no such claims have been filed.


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    Case 1:08-cr-00128-MR-WCM              Document 294         Filed 08/17/09      Page 1 of 2
       IT IS, THEREFORE, ORDERED that the Government’s motion for a final order of

forfeiture is ALLOWED.

       IT IS FURTHER ORDERED that, in accordance with Rule 32.2(c)(2), the Preliminary

Order of Forfeiture is confirmed as final. All right, title, and interest in the following

properties, whether real, personal, or mixed, has therefore been forfeited to the United States for

disposition according to law:

       One Taurus handgun, .45 caliber, s/n NTE12678;
       One Winchester rifle, .22 caliber, s/n B1807423;
       One Talon handgun, 9mm caliber, s/n 06154;
       One Smith & Wesson handgun, 9mm caliber, s/n TDF4299;
       One Phoenix Raven handgun, .25 caliber, s/n 3015702;
       One Highpoint handgun, .40 caliber, s/n X714752;
       One Remington 870 pump shotgun, 12 gauge, s/n S349807V;
       One SS Krease Co. shotgun, 12 gauge, s/n 589399;
       One Lorcin handgun, .380 caliber, s/n 532208;
       Two Jennings handguns (matching set), .22 caliber, s/ns 321853 and 363115;
       One Yugo rifle, 7.62x39 rifle, s/n F173927;
       One unknown make revolver, .22 caliber, s/n TX76045.

                                                  Signed: August 17, 2009




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    Case 1:08-cr-00128-MR-WCM              Document 294         Filed 08/17/09      Page 2 of 2
